         Case 1:21-cr-00030-JDB Document 1-1 Filed 01/21/21 Page 1 of 8




                                   STATEMENT OF FACTS

       I am a Special Agent with the Federal Bureau of Investigation (FBI). I am authorized by
law or by a Government agency to engage in or supervise the prevention, detention, investigation,
or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.


                                                 1
          Case 1:21-cr-00030-JDB Document 1-1 Filed 01/21/21 Page 2 of 8




        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       On or about January 15, 2021, the New Jersey Regional Operations & Intelligence
Center advised the Federal Bureau of Investigation’s Newark, New Jersey Office that it had
received information that a Stephanie M. HAZELTON, aka Ayla Wolf, of Medford, New Jersey
had participated in the violent activities at the United States Capitol in Washington D.C. on January
6, 2021.

        I have reviewed two videos that were posted on YouTube on January 7, 2021. Both
videos depict events that unfolded on January 6, 2021, outside and inside of a tunnel on the west
front of the United States Capitol that leads inside of the Capitol. The events depicted inside the
tunnel in Video One start prior to the events depicted inside the tunnel in Video Two, although
both videos capture the moments when U.S. Capitol Police officers, along with officers from
other departments, successfully force the rioters from the tunnel.

       VIDEO ONE


        Video One is approximately 29 minutes and 22 seconds long. Video One is titled Scenes
of Chaos Captured Inside US Capitol as Crowd Challenges Police. Video One was shot by a
journalist who is identified in the text accompanying the video and depicts the events that
unfolded inside of a tunnel that leads from the west front of the United States Capitol into the
Capitol itself. According to an explanation that accompanies Video One on YouTube, the
recording began at approximately 2:50 p.m. on January 6, 2021. I note that this time, if accurate,
is approximately 30 minutes after the House and Senate chambers were evacuated.

        Video One starts outside of the entrance to the tunnel as rioters are exiting from the
tunnel. At approximately 2:32 of this video, the first of two police shields that I infer were taken
away from the officers inside the tunnel, are passed out of the tunnel, back above the crowd. At
approximately 3:43 of this video, the camera moves inside the tunnel and at approximately 3:46
of this video, the camera focuses on a line of law enforcement officers with their badges visible
and with face shields on. They appear to be between two sets of doors within the tunnel. About
20 seconds later, at approximately the 4:06 mark, the video shows the back of the head of a
woman with long blond hair who is wearing a black baseball cap, and a black sweatshirt. White
lettering is visible on the back of the sweatshirt, partially obstructed from view by the woman’s
hood, containing the letters, “So” on the left side of the hood and “iberty” on the right side of the
hood. A screenshot from this portion of the video is directly below:


                                                  2
         Case 1:21-cr-00030-JDB Document 1-1 Filed 01/21/21 Page 3 of 8




Based upon my review of this video, as well as Video Two which is discussed below, and other
evidence developed during this investigation, I have concluded that the person depicted within
the red circle in the above screenshot is HAZELTON. Approximately eight seconds after the
above screenshot, HAZELTON is seen holding her Apple iPhone in its pink case in her right
hand and the video captures the red dot within a white circle that is displayed when iPhones are
shooting video, as well as a red recording duration timer on the top of the phone screen. At
approximately 5:04 of this video, HAZELTON is seen again and she is still using her iPhone to
shoot video of the officers in the tunnel.

        Video One also shows the shields that had previously been taken from the officers in the
tunnel being passed forward so that the rioters at the front of the crowd can use them against the
officers protecting the Capitol. This video also shows the crowd yelling at the Officers. At
approximately 6:57 of this video, individuals in the crowd are shown hitting the officers with
batons. At approximately 14:40 of this video, the video shows that the glass within the left
double-door has been broken and the jagged edges of the broken glass can be seen on the
perimeter of the glass pane that was part of the door.

        Video One continues to depict attacks against the officers by rioters. At approximately
12:40 of this video, one of the rioters is seen spraying some type of substance from an aerosol
can towards the officers. At approximately 16:32 of this video, the crowd starts yelling for a
“shield wall” to be established against the officers. At approximately 20:40 of this video, one of
the rioters is seen attempting to remove the gas mask from one of the officers. At approximately
21:13 of this video, an officer, wearing a helmet with the number “4518” on it, is seen with his

                                                 3
          Case 1:21-cr-00030-JDB Document 1-1 Filed 01/21/21 Page 4 of 8




head between one of the sets of doors in the tunnel. He is screaming in agony. At approximately
27:10 of this video, the police start to push the crowd out of the tunnel and at approximately
28:19 of this video, the cameraman is pushed out of the tunnel.

       VIDEO TWO

         Video Two is approximately one hour, 28 minutes and 30 seconds long. This video is titled
WARNING: GRAPHIC CONTENT: RAW FOOTAGE OF THE CAPITOL YESTERDAY -
THIS IS WHAT REALLY HAPPENED. The video was posted by a person who identifies himself
as “Brandon.” At the beginning of the video, “Brandon” indicates that he will be editing the raw
footage that he took at the Capitol. After a brief introduction, the video shows the west front of
the United States Capitol and the time stamp on the video indicates “12:26 PM, Jan. 6, 2021.” I
note that this time, if accurate, is approximately 34 minutes before the joint session of Congress
started.

        The cameraman, starts walking towards the scaffolding and seating for the inauguration
that was scheduled for January 20, 2021. The cameraman walks past barricades that have signs
indicating that the barricades are “Property of U.S. Capitol Police” and behind the barricades is a
line of law enforcement officers in uniform who are wearing helmets with face shields. After a
series of confrontations, the rioters manage to pull the barricades away and enter the central plaza
between the viewing stands on either side of the Capitol dome. At approximately 54:06 of the
video, the cameraman climbs up some steps that have been constructed for the inauguration and
ends up on what appears to be a terrace on the west front of the Capitol.

        Almost directly under the dome of the Capitol, a tunnel-like hallway leading to the inside
of the Capitol can be seen at approximately 58:58 of the video. At approximately 1:00:06 of the
video, the crowd of rioters appears to start rushing into the tunnel. Over the next few minutes,
some of the rioters start making their way out of the tunnel. Some of these rioters have an orange
substance on their faces and scalps that I believe to be to be a chemical irritant that was directed
at them by law enforcement officers inside the tunnel. Some of the rioters are also coughing and
some are wiping their faces. At approximately 1:04:30 of the video, one of the rioters waiting
outside of the tunnel squirts water into the eyes of one of the rioters coming out of the tunnel.

         At approximately 1:06:16 of the video, a female later identified as HAZELTON comes out
of the tunnel. She is wearing a black baseball cap over her long blond hair. The cap has an image
of a tree with its roots displayed. She is also wearing a black pullover or jacket which has the same
image on the back and says “Son” and “rty” and what I believe is “Jersey,” also on the back.
HAZELTON is wearing a gaiter around her neck that can be fashioned into a mask that was
predominantly blue and white. She is wearing camouflage leggings with two broken-line white
stripes down the right leg. She is also wearing lace up black boots that have fur showing on the


                                                 4
         Case 1:21-cr-00030-JDB Document 1-1 Filed 01/21/21 Page 5 of 8




inside of the tongue of the boot. She is also carrying what appears to be a tapestry pouch purse
that is predominantly pink in color. At approximately 1:06:32 of the video, HAZELTON is seen
holding an Apple iPhone with a pink cover. A screenshot from this portion of the video is directly
below:




        After she exits the tunnel, HAZELTON is seen wiping her eyes and coughing. At
approximately 1:07:28 of the video, an unknown male asks HAZELTON if she is OK and she
replies, “I’m good, I’m OK.” I infer from her actions and comments that she had been in the tunnel
and was subject to whatever chemical irritant law enforcement officers were spraying on the rioters
in order to try and get them to exit the tunnel.

        At approximately 1:06:42 of the video, HAZELTON yells out to the crowd of rioters, “We
need more men,” while simultaneously waving other rioters towards the tunnel. She then repeats
that instruction to the crowd several times. At approximately 1:07:31 of the video, HAZELTON
says to an unknown person, “I got to go back in.” I infer from this comment that she is admitting
that she was in the tunnel previously. At approximately 1:07:51 of the video, HAZELTON tells
the crowd, “We need more men, we need more men, keep going, keep pushing, men, we need men,
not women.” At approximately 1:09:31 of the video, HAZELTON tells the crowd, “We need more
helmets, more helmets.” Consistent with those instructions, rioters continue to stream into the
tunnel.


                                                5
          Case 1:21-cr-00030-JDB Document 1-1 Filed 01/21/21 Page 6 of 8




        At approximately 1:12:05 of the video, HAZELTON appears to be going back into the
tunnel and at approximately 1:15:13 of the video, HAZELTON re-appears from the tunnel. At
approximately 1:15:35 of the video, the crowd starts to rush into the tunnel and HAZELTON again
goes into the tunnel with the crowd. At approximately 1:18:17 of the video, HAZELTON comes
out of the tunnel and can be seen coughing. At approximately 1:22:04 of the video, the police start
to push the crowd out of the tunnel and approximately 1:22:46 of the video, the cameraman is
pushed out of the tunnel.

         At approximately 1:23:04 of Video Two, an unknown male says, “Do not hurt him.”
Approximately one minute later at the 1:23:08 mark of Video Two, an officer is seen walking back
from the crowd towards the tunnel. I note that the Washington Post posted a story on January 14,
2021 in which they reported that the crowd pulled this same officer down to the ground and
dragged him on his stomach down a set of steps. The rioters then started to beat this officer and a
second officer with metal pipes that had been ripped from the scaffolding and a pole with an
American flag attached to it. Both officers were also struck with stun guns. The Washington Post
article continued by reporting that the first officer suffered a mild heart attack and drifted in and
out of consciousness. This first officer was quoted saying that he heard the rioters shouting, “Kill
him with his own gun.” I note that this same officer is depicted in Video One inside the tunnel
and is on the front line of officers who successfully pushed the rioters out of the tunnel.

       IDENTIFICATION OF HAZELTON

        Law enforcement has obtained a photograph of HAZELTON from the New Jersey
Division of Motor Vehicles. I have had the opportunity to compare that photograph to the
person depicted in Videos One and Two exhorting the crowd to enter the tunnel, and that person
at the U.S. Capitol on January 6, 2021 appears to be HAZELTON. In addition, Video Two was
viewed by Major Greg Giannone of the New Jersey State Police. Major Giannone has advised
me that in or about April 2020, he had direct interactions with HAZELTON (aka Ayla
Wolf/Wolfe) during several protests on Statehouse grounds in Trenton, New Jersey. As a result
of HAZELTON’s actions, she was charged by the New Jersey State Police for Executive Order
violations that had been put in place as a result of the Covid-19 pandemic. Major Giannone has
further advised me that the female depicted in Video Two is the same person who was arrested
by the New Jersey State Police. As previously noted, the individual in Video Two is the same
individual shown in Video One.

       CONCLUSION

        I conclude from HAZELTON’s presence and vantage point in the tunnel in this second
video that she knew that there were United States Capitol Police officers, who are law
enforcement officers, inside the tunnel who were attempting to get the rioters out of the tunnel.
I further conclude from the first video when HAZELTON was encouraging male rioters to enter

                                                 6
         Case 1:21-cr-00030-JDB Document 1-1 Filed 01/21/21 Page 7 of 8




the tunnel, so that they could “keep pushing” and that they needed “more helmets” in the tunnel,
that HAZELTON was willfully obstructing, impeding, and interfering with law enforcement
officers who were lawfully engaged in the lawful performance of their official duties incident to
and during the commission of a civil disorder which obstructed, delayed and adversely affected
the conduct or performance of a federally protected function, to wit, a joint session of the United
States Congress convened at the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election. Based on the foregoing, I submit that there is probable
cause to believe that HAZELTON violated 18 U.S.C. § 231(a)(3) and 18 U.S.C. § 2(a), which
make it unlawful to obstruct, impede, or interfere, and/or to aid and abet another person to
obstruct, impede, or interfere, with any fireman or law enforcement officer lawfully engaged in
the lawful performance of his official duties incident to and during the commission of a civil
disorder which in any way or degree obstructs, delays, or adversely affects … the conduct or
performance of any federally protected function. For purposes of Section 231 of Title 18, a
federally protected function means any function, operation, or action carried out, under the laws
of the United States …by an officer or employee thereof. I know that the U.S. Capitol Police
are federal law enforcement agents.

        I further conclude from HAZELTON’s presence and conduct in both videos shows that
she knowingly entered and remained on the Capitol Grounds after having crossed temporary and
permanent barricades that had been set up by law enforcement. Based on the foregoing, I submit
that there is probable cause to believe that HAZELTON violated 18 U.S.C. § 1752(a)(1) and (2),
which makes it a crime to (1) knowingly enter or remain in any restricted building or grounds
without lawful authority to do; and (2) knowingly, and with intent to impede or disrupt the
orderly conduct of Government business or official functions, engage in disorderly or disruptive
conduct in, or within such proximity to, any restricted building or grounds when, or so that, such
conduct, in fact, impedes or disrupts the orderly conduct of Government business or official
functions.

         I further conclude from HAZELTON’s presence and conduct in both videos and from
HAZELTON’s conduct in the first video when she was encouraging male rioters to enter the
tunnel, so that they could “keep pushing” and that they needed “more helmets” in the tunnel, that
HAZELTON willfully and knowingly uttered loud, threatening, or abusive language, and
engaged in disorderly or disruptive conduct, on the grounds of the United States Capitol and in
its buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of
Congress or either House of Congress. Based on the foregoing, I submit there is also probable
cause to believe that HAZELTON violated 40 U.S.C. §§ 5104(e)(2)(D) and (E), which makes it
a crime to: (D) willfully and knowingly utter loud, threatening, or abusive language, or engage in
disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings
with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress or
either House of Congress, or the orderly conduct in that building of a hearing before, or any


                                                7
         Case 1:21-cr-00030-JDB Document 1-1 Filed 01/21/21 Page 8 of 8




deliberations of, a committee of Congress or either House of Congress and (E) to obstruct, or
impede passage through or within, the Grounds or any of the Capitol Buildings.



                                                    _________________________________
                                                    Special Agent Cheryl Glassford
                                                    Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 21st day of January 2021.
                                                                          2021.01.21
                                                                          19:14:37 -05'00'
                                                    ___________________________________
                                                    ZIA M. FARUQUI
                                                    U.S. MAGISTRATE JUDGE




                                                8
